


    JUSTICE
   

    WECHT
   
   , Dissenting.
  

   The instant Petition for Allowance of Appeal raises legal issues that implicate the decision that the Supreme Court of the United States issued in
   
    Birchfield v. North Dakota,
   
   ___ U.S. ___,
   
    136 S.Ct. 2160
   
   ,
   
    195 L.Ed.2d 560
   
   (2016). Because this Court has not yet addressed the impact of
   
    Birchfield
   
   upon the law of this Commonwealth, we have no binding precedent against which to test the merits of these issues, or by which to evaluate lower courts' analyses of the legal questions that arise in the wake of
   
    Birchfield.
   


   Currently pending before this Court are several cases that necessitate our consideration of
   
    Birchfield.
   
   The legal landscape following
   
    Birchfield
   
   remains substantively unsettled, nearly any claim that implicates that decision consequently remains at least potentially viable, and this Court has elected to consider several legal issues emanating from the
   
    Birchfield
   
   decision. Under these circumstances, I would not deny
   
    allocatur
   
   in this case or any other that depends in whole or in part upon an analysis of
   
    Birchfield.
   
   We are ill-advised conclusively to foreclose the possibility of further review until such time as this Court can provide a clear, definitive, and precedential articulation of what
   
    Birchfield
   
   means for Pennsylvania law.
  

   I respectfully dissent from the Court's denial of
   
    allocatur,
   
   as I would hold this petition in abeyance pending further developments.
  
